











			






IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-63,789-01






EX PARTE ANTHONY JEFFREY BALDWIN, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS 


FROM KERR COUNTY

IN THE 216TH JUDICIAL DISTRICT COURT

TRIAL COURT CAUSE NO. A01-287



		

		Per curiam.


	O R D E R



	This is an application for a writ of habeas corpus which was transmitted to this Court 
pursuant to the provisions of Tex. Code Crim. Proc. art. 11.07.  Applicant was convicted
of the offense of delivery of a controlled substance - cocaine, and punishment was assessed
at confinement for three years.  No direct appeal was taken.  

	Applicant contends that his attorney provided ineffective assistance of counsel by
failing to interview and call an alibi witness, that his plea was involuntary, and through
ineffectiveness of counsel, he was denied his right to appeal.

	The trial court has not entered findings of fact or conclusions of law.  We believe that
Applicant has alleged facts that, if true, might entitle him to relief.  Therefore, it is this
Court's opinion that additional facts need to be developed.  Because this Court cannot hear
evidence, the trial court is the appropriate forum.  The trial court may resolve those issues
as set out in Tex. Code Crim. Proc. art. 11.07, § 3 (d), in that it shall order affidavits,
depositions, or interrogatories, or it may order a hearing.  

	If the trial court elects to hold a hearing, the court shall first decide whether Applicant
is indigent.  If the trial court finds that Applicant is indigent and Applicant desires to be
represented by counsel, the trial court will then, pursuant to the provisions of Tex. Code
Crim. Proc. art. 26.04, appoint an attorney to represent him at the hearing.  

	Following receipt of additional information, the trial court shall make findings of fact
as to whether Applicant was provided effective assistance of counsel and whether his plea
was voluntary.  The trial court shall also make any further findings of fact and conclusions
of law it deems relevant and appropriate to the disposition of the application for writ of
habeas corpus.

	Because this Court does not hear evidence, Ex Parte Rodriquez, 334 S.W.2d 294 (Tex.
Crim. App. 1960), this application for a post-conviction writ of habeas corpus will be held
in abeyance pending the trial court's compliance with this order.  Resolution of the issues
shall be accomplished by the trial court within 90 days of the date of this order. (1)  A
supplemental transcript containing all affidavits and interrogatories or the transcription of the
court reporter's notes from any hearing or deposition, along with the trial court's
supplemental findings of fact and conclusions of law, shall be returned to this Court within
120 days of the date of this order. (2)

	IT IS SO ORDERED THIS THE EIGHTH DAY OF MARCH, 2006.





DO NOT PUBLISH                   

	
1.   In the event any continuances are granted, copies of the order granting the continuance
shall be provided to this Court.
2.   Any extensions of this time period shall be obtained from this Court.


